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IN THE UNITED STATES DISTRICT COURT
FOR WESTERN DISTRICT OF VIRGINIA
CHARLOTTESVILLE DIVISION

DR. ROBERT W. MALONE
Plaintiff
v. Case Number: 3:22-cv-63
PETER R. BREGGIN, MD.
GINGER ROSS BREGGIN,
AMERICA OUT LOUD,
DR. JANE RUBY
And
RED VOICE MEDIA

Defendants.

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MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants Peter R.

Breggin, MD. And Ginger Ross Breggin (collectively, the “Breggin Defendants”), by
counsel, move this Court to dismiss with prejudice the Complaint filed by Dr. Robert W.
Malone, (the “Plaintiff’) because the Plaintiff has failed to state a claim upon which relief
can be granted. The grounds and reasons for granting this relief are stated in the
accompanying Memorandum which is filed contemporaneously herewith and
incorporated herein.

Respectfully Submitted,

PETER R. BREGGIN, MD.

GINGER ROSS BREGGIN
By Counsel
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By: /s/ William M. Stanley
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CERTIFICATE

I hereby certify that on the 8" day of June, 2023, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to the following:

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Counsel for the Plaintiff

 

By: /s/ William M. Stanley
